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             1 Kathleen P. March (Bar No. 80366)
               THE BANKRUPTCY LAW FIRM, PC
             2 10524 W. Pico Boulevard, Suite 212
               Los Angeles, CA 90064
             3 Phone (310) 559-9224
               Fax (310) 559-9133
             4 e-mail: kmarch@BKYLAWFIRM.com
               Attorneys for Defendant Pacific Motors, a CA Corp.
             5
                                  UNITED STATES BANKRUPTCY COURT
             6
                             EASTERN DISTRICT OF CALIFORNIA (MODESTO)
             7
             8    In re:                    Chapter 13
                                            Case No.17-90400        Adv. Proc No. 17-09005
             9    JAMELIA                 (1). NOTICE OF MOTION, AND MOTION OF
           10                             PACIFIC MOTORS, AND OF PACIFIC’S
                  ANTOINETTE              COUNSEL OF RECORD, THE BANKRUPTCY
           11     ROBINSON                LAW FIRM, PC (“LAW FIRM”), TO DISMISS
           12                             HEREIN ADVERSARY PROCEEDING, UNLESS
                                          ROBINSON’S COUNSEL, NEELEY, HAS
           13                             REIMBURSED LAW FIRM, FOR THE 10
           14        Debtor               HOURS OF ATTORNEY TIME (4AM TO 2PM)
                  ____________________ SPENT TRAVELING FROM LA TO
           15                             SACRAMENTO, AND BACK, PLUS $202 AIR
           16     JAMELIA                 FARE, PLUS $78.60 TAXIS, SPENT TO ATTEND
                                          3/22/18 PRETRIAL CONFERENCE, IN PERSON,
           17     ANTOINETTE              AS REQUIRED, WHICH PLAINTIFF’S
           18     ROBINSON                COUNSEL NEELEY FAILED TO ATTEND IN
                                          PERSON; (2) THIS PLEADING IS ALSO
           19                  Plaintiff- PACIFIC’S, AND LAW FIRM’S RESPONSE, TO
                               Debtor     NEELEY’S “MOTION FOR CLARIFICATION”,
           20     versus                  OF WHEN NEELEY HAS TO COMPLY WITH
           21                             THE COURT’S DIRECTION THAT NEELEY
                  PACIFIC MOTORS,
                                          REIMBURSE LAW FIRM’S WASTED TIME AND
           22     A CA CORP.              COSTS CAUSED BY NEELEY’S FAILURE TO
           23                             APPEAR IN PERSON AT 3/22/18 PRETRIAL;
                              Defendant MARCH DECLARATION W/EXHIBITS
           24
           25                               This Motion to Dismiss is Set for hearing on:
                                            Date: May 15, 2018
           26                               Time: 10:00am
                                            Place: Modesto Division, 1200 I St, Suite 4, Modesto CA
           27
                                            [Defendant’s counsel will appear by phone via Court
           28                               Call system]



                 NOTICE OF MOTION AND MOTION OF PACIFIC MOTORS TO DISMISS ADV PROC. UNLESS
                 NEELEY, ESQ. REIMBURSES LAW FIRM, FOR WASTED TRIP TO SACRAMENTO BEFORE 5/15/18
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             1
                       1. PLEASE TAKE NOTICE that at the date/time/location stated on page 1
             2
                 hereof, that Pacific Motors, a CA Corp. (“Pacific”), and The Bankruptcy Law Firm,
             3
                 PC (“Law Firm”) will move the Bankruptcy Court to dismiss the herein Robinson
             4
                 v. Pacific Motors adversary proceeding, unless before the hearing date, Kenneth
             5
                 Neeley, Esq., has reimbursed Law Firm for attorney Kathleen P. March, Esq. of Law
             6
                 Firm’s wasted trip from LA to Sacramento and back, on 3/22/18, for the Pretrial
             7
                 Conference in said adversary proceeding, which Neeley was required to attend, in
             8
                 person, as plaintiff Robinson’s counsel, but which Neeley failed to attend in person.
             9
                       This Motion to Dismiss is based on the attached Memorandum of Points and
           10
                 Authorities, and attached Declaration of Kathleen P. March, Esq., which attaches
           11
                 Law Firm’s itemized bill for time and costs emailed to Neeley on March on 3/22/18.
           12
                       Any Response to herein Motion to Dismiss Adversary Proceeding is required
           13
                 to be filed and served no less than 14 days before the 5/15/18 hearing date of this
           14
                 Motion to Dismiss.
           15
                       2. This pleading is additionally the RESPONSE of Pacific and of Law Firm,
           16
                 to Neeley’s Motion for Clarification, filed 3/23/18, and which improperly fails to
           17
                 list or notice any hearing date for said Motion for Clarification.
           18
              Dated: March 27, 2018 THE BANKRUPTCY LAW FIRM, PC
           19                              /s/ Kathleen P. March
                                    By Kathleen P. March, Esq., counsel for Pacific Motors,
           20                       and for Law Firm, on the herein Motion/Response
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                 NOTICE OF MOTION AND MOTION OF PACIFIC MOTORS TO DISMISS ADV PROC. UNLESS
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             1      MEMORANDUM OF POINTS AND AUTHORITIES (1) IN SUPPORT OF
             2      HEREIN MOTION TO DISMISS ADVERSARY PROCEEDING, AND (2) IN
                            RESPONSE TO NEELEY’S MOTION TO CLARIFY
             3
             4 I.     THIS COURT SHOULD DISMISS THE ROBINSON V PACIFIC
             5        ALLEGED STAY VIOLATION ADVERSARY PROCEEDING, IF
             6        NEELEY HAS NOT REIMBURSED LAW FIRM FOR MARCH’S
             7        WASTED 3/22/18 TRIP FROM LA TO SACRAMENTO AND BACK,
             8        BEFORE THE 5/15/18 HEARING DATE OF THIS MOTION
             9        Showing up for Court is a basic duty of any lawyer. So is reading the Court’s
           10 rules. Robinson attorney Kenneth Neeley, Esq. (“Neeley”) failed to appear in person
           11 at the 3/22/18 pretrial conference in Robinson v. Pacific Motors alleged stay
           12 violation adversary proceeding, despite this Court’s rules requiring in person
           13 appearance. (March Decl). Pacific’s attorneys The Bankruptcy Law Firm, PC, by
           14 attorney Kathleen P. March appeared in Sacramento, in person, for the 3/22/18
           15 pretrial conference, as required by the Court’s rules requiring in person appearance.
           16 (March Decl). Because Neeley only phoned in, the Court refused to hold the pretrial
           17 conference, with the result that March’s trip from LA to Sacramento and back, on
           18 3/22/18 was wasted. The Court ordered Neeley to reimburse March for her wasted
           19 time and costs incurred traveling from LA to Sacramento and back on 3/22/18, for a
           20 pretrial conference that could not be held, due to Neeley failing to appear in person,
           21 as required by this Court’s rules. (March Decl).
           22         As March told the court at the hearing, March left for the airport at 4:00am on
           23 3/22/18, took a 5:30am flight to Sacramento, to be on time for the 9:30am pretrial
           24 conference. (March Decl). After Court, March had to return to Sacramento airport,
           25 fly back to LAX, and drive to her Law Firm. (March Decl). March did not arrive
           26 back at her office until 2:30pm. Law Firm’s contract with Pacific, bills at $400 per
           27 hour for March’s time, including Law Firm charges clients for all travel time, and
           28 waiting time, in addition to preparation time, and actual court appearance time.



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             1 (March Decl), and Law Firm’s clients are to pay amount above retainer within 5 days
             2 of receipt of bill.(March Decl) After subtracting ½ hour for lunch, March’s time on
             3 3/22/18 is 10 hours x $400 = $4,000. In addition, Law Firm, paid $202 for March’s
             4 Southwest Airlines plane ticket round trip, and paid $78.60 total for taxis from
             5 Sacramento airport to Court, and from Court back to Sacramento airport. That is a
             6 total bill of time and costs of $4,280.60. (March Decl). As March told the Court she
             7 would do, she ran that bill (Law Firm does time and billing on Timeslips computer
             8 program) when she got back to Law Firm, and emailed that bill to Neeley on
             9 3/22/18. March’s bill emailed to Neeley on 3/22/18 is Exhibit A to March Decl.
           10         Many judges would have dismissed the adversary proceeding on 3/22/18, for
           11 Neeley’s failure to appear in person, and the Court would have been within its rights
           12 to do so, considering that Neeley is plaintiff Robinson’s counsel. (March Decl).
           13 Robinson’s remedy would have been against Neeley, for not appearing (March
           14 Decl). Instead, the Court took the much less onerous tack, of ordering Neeley to
           15 reimubrse March’s time and costs for the wasted 3/22/18 trip. (March Decl).
           16         Neeley (on the phone) said he did not object to that result. (March Decl). He
           17 should have been grateful the Court did not dismiss the adversary proceeding on
           18 3/22/18. (March Decl).
           19         However, when March emailed her Law Firm’s bill, for the $4,280.60 wasted
           20 time and costs, to Neeley, on 3/22/18, Neeley, the next day, 3/23/18 objected to
           21 paying Law Firm, and then filed a Motion to Clarify, filed without any hearing date,
           22 asking the Court to rule that Neeley did not have to reimburse Law Firm, now, for
           23 March’s wasted trip from LA to Sacramento and back, that Neeley could wait until
           24 the end of the adversary proceeding (whenever that might be) to reimburse March’s
           25 Law Firm.
           26 II.     THIS PLEADING IS PACIFIC’s, AND LAW FIRM’S, RESPONSE TO
           27         NEELEY’S MOTION TO CLARIFY
           28         In addition to Moving to Dismiss the Adversary proceeding, this pleading, is



                 NOTICE OF MOTION AND MOTION OF PACIFIC MOTORS TO DISMISS ADV PROC. UNLESS
                 NEELEY, ESQ. REIMBURSES LAW FIRM, FOR WASTED TRIP TO SACRAMENTO BEFORE 5/15/18
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             1 Pacific’s and Law Firm’s RESPONSE to Neeley’s Motion to Clarify, filed 3/23/18,
             2 but filed without any hearing date.
             3        First the Court should deny the Motion to Clarify, for being filed without a
             4 hearing date, because no hearing date is contrary to the Court’s rules for Motions.
             5        Second, it is already unfair enough to Pacific and Law Firm, that March had to
             6 get up at 3am on 3/22/18, leave for LAX airport at 4am, take a 5:30am flight to
             7 Sacramento, to appear in person at the 3/22/18 at 9:30am pretrial conference in
             8 Sacramento, only ot have that pretrial conference aborted by the Court, because
             9 Neeley did not appear in person, without delaying Neeley’s reimbursing Law
           10 Firm for March’s wasted time and costs on 3/22/18. (March Decl).
           11         Neither Pacific, nor Law Firm, is a lending organization. (March Decl).
           12 Neither Pacific, nor Law Firm, should have to carry Neeley’s duty to reimburse Law
           13 Firm, for months? Longer? Who knows? (March Decl).
           14         Neeley’s Motion to Clarify does not cite any authority that would justify
           15 delaying Neeley’s duty to reimburse Law Firm for March’s wasted trip, that Neeley’s
           16 failure to appear caused. (March Decl). Neeley’s duty to reimburse Law Firm for the
           17 $4,280.60 of time and costs, that Neeley’s failure to appear for the 3/22/18 pretrial
           18 conference caused to be wasted, should due to Law Firm on the same time-table that
           19 Pacific would owe Law Firm that payment on, which is 5 days after bill is sent.
           20 (March Decl). aw Firm emailed Neeley bill on 3/22/18. (March Decl).
           21         However, since the herein Motion to Dismiss is being set for hearing on
           22 5/15/18, that will give Neeley until hearing time on 5/15/18 (over 1 and ½ months)
           23 to reimburse the $4,280.60 to Law Firm. If Neeley fails to reimburse the
           24 $4,280.60 to Law Firm, before the 5/15/18 hearing, the Court should grant Pacific’s
           25 herein Motion to Dismiss the adversary proceeding.
           26         The Court is apparently under the misapprehension that Pacific is a big,
           27 profitable car dealership. It is not. It is a tiny car dealership in Modesto, selling a
           28 few used cars. Robinson, testified in deposition that Robinson makes $121,000 per



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             1 year. (March Decl). Pacific’s manager, Mr. Kumar, testified in deposition that he
             2 makes $20,000 per year. (March Decl). The party with the money here is Robinson,
             3 not Pacific. (March Decl). This adversary proceeding is making Pacific unprofitable,
             4 and Pacific itself may file bankruptcy. (March Decl). Any large judgment against
             5 Pacific would not just be contrary to Pacific’s full affirmative defenses; it would
             6 never be collectible. (March Decl).
             7         Despite her high income, Robinson lied to get pacific to sell her the car on
             8 monthly payments, and then never made a payment, defaulting on paying Pacific on
             9 the $160 a month car payments. 3 weeks after she told Pacific her financial condition
           10 was good, she was already working with a bankruptcy attorney to file bankruptcy, as
           11 Robinson admitted in deposition. (March Decl). Then Robinson dumped the car in
           12 a strip mall parking lot, never having paid a single monthly payment on it, as
           13 Robinson admitted in deposition. (March Decl). That misconduct is equitable
           14 estoppel, and unclean hands, which is a complete defense
           15          If the car had been parked at Robinson’s residence, as Robinson’s
           16 contract with Pacific required Robinson to do, there would have been no
           17 confusion over whether the car was abandoned in the strip mall parking lot.
           18 (March Decl)
           19           Robinson--who testified in deposition that she was parking the car in the strip
           20 mall parking lot, at her attorney’s suggestion, to make it harder for Pacific to find
           21 and repossess the car--has unclean hands, which is a complete defense. (March
           22 Decl).
           23          The automatic stay is supposed to be used as a shield, to protect debtors, NOT
           24 as a sword, to be a profit center for Neeley, a contingent fee attorney who goes from
           25 state to state, bringing alleged stay violation adversary proceedings, and tries to
           26 prolong them, to run up his attorneys fees, when any reasonable attorney would
           27 settle. (March Decl). The court should not find such attorneys fees to be reasonable
           28 or necessary. (March Decl).



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             1
                 III. CONCLUSION
             2
                       The Court should dismiss this adversary proceeding, if Neeley has not
             3
                 reimbursed Law Firm the $4,280.60, by the time this Motion to dismiss is heard.
             4
                        The Court should deny Neeley’s Motion for Clarification, including because
             5
                 it was required to be set for hearing, but was not set for hearing.
             6
               Dated: March 27, 2018 THE BANKRUPTCY LAW FIRM, PC
             7                              /s/ Kathleen P. March
                                     By Kathleen P. March, Esq., counsel for Pacific Motors,
             8                       and for Law Firm, on the herein Motion/Response
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             1         DECLARATION OF KATHLEEN P. MARCH, ESQ.
             2
             3
                       I, KATHLEEN P. MARCH, declare:

             4
                       1. I am an attorney admitted to practice law in California and New York. My

             5
                 California bar number is 80366. I am admitted to practice in the US District Court,

             6
                 and Bankruptcy Court, ED CA, among other Courts. I own and run The Bankruptcy

             7
                 Law Firm, PC (“Law Firm” hereinafter), which is counsel of record to Pacific

             8
                 Motors, a CA Corporation (“Pacific” hereinafter), in the herein Robinson v. Pacific

             9
                 Motors alleged stay violation adversary proceeding #17-09005.

           10
                       2. Showing up for Court is a basic duty of any lawyer. So is reading the

           11
                 Court’s rules. Robinson attorney Kenneth Neeley, Esq. (“Neeley”) failed to appear

           12
                 in person at the 3/22/18 pretrial conference in Robinson v. Pacific Motors alleged

           13
                 stay violation adversary proceeding, despite this Court’s rules requiring in person

           14
                 appearance.

           15
                       3. My Law Firm, by me, as Pacific’s attorneys of record, appeared in

           16
                 Sacramento, in person, for the 3/22/18 pretrial conference, as required by the Court’s

           17
                 rules, which require in person appearance.

           18
                       4. Because Neeley only phoned in, the Court refused to hold the pretrial

           19
                 conference, with the result that March’s trip from LA to Sacramento and back, on

           20
                 3/22/18 was wasted. The Court ordered Neeley to reimburse me (March) for my

           21
                 wasted time and costs incurred traveling from LA to Sacramento and back on

           22
                 3/22/18, for a pretrial conference that could not be held, due to Neeley failing to

           23
                 appear in person, as required by this Court’s rules.

           24
                       5.      As I told the court at the 3/22/18 hearing, I left home for the airport at

           25
                 4:00am on 3/22/18, took a 5:30am flight to Sacramento, to be on time for the 9:30am

           26
                 pretrial conference. After Court, I had to return to Sacramento airport, fly back to

           27
                 LAX, and drive to Law Firm. I did not arrive back at my Law Firm until 2:30pm.

           28
                       6. Law Firm’s contract with Pacific, bills at $400 per hour for my time,
                 including Law Firm charges clients for all travel time, and waiting time, in addition


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             1 to preparation time, and actual court appearance time. My firm’s contract with
             2 Pacific requires Pacific to pay amounts billed above retainer, within 5 days after Law
             3 Firm emails its bills to Pacific.
             4       7. After subtracting ½ hour for lunch, my time on 3/22/18 is 10 hours x $400
             5 = $4,000. In addition, Law Firm, paid $202 for my Southwest Airlines plane ticket
             6 round trip, and paid $78.60 total for taxis from Sacramento airport to Court, and
             7 from Court back to Sacramento airport. That is a total bill of time and costs of
             8 $4,280.60. As I told the Court I would do, I ran that bill (Law Firm does time and
            9 billing on Timeslips computer program) when I got back to Law Firm, and emailed
           10 that bill to Neeley on 3/22/18.
           11         8. Law Firm’s bill emailed to Neeley on 3/22/18 is Exhibit A to this
           12 Declaration.
           13       9. Many judges would have dismissed the adversary proceeding on 3/22/18,
           14 for Neeley’s failure to appear in person, and the Court would have been within its
           15 rights to do so, considering that Neeley is plaintiff’s counsel. Robinson’s remedy
           16 would have been against Neeley, for not appearing. Instead, the Court took the much
           17 less onerous tack, of ordering Neeley to reimubrse March’s time and costs for the
           18 wasted 3/22/18 trip.
           19       10. Neeley (on the phone) said he did not object to reimbursing my Law
           20 Firm’s time and costs. Neeley should have been grateful the Court did not dismiss
           21 the adversary proceeding on 3/22/18.
           22         11.    However, when I emailed Neeley my Law Firm’s bill, for the wasted
           23 $4,280.60 of time and costs, on 3/22/18, Neeley, the next day, filed a Motion to
           24 Clarify, saying he wanted to wait to reimburse Law Firm until the end of the
           25 adversary proceeding, whenever that might be.
           26       12. There is NO authority for allowing Neeley to wait until the end of the
           27 adversary proceeding to reimburse the $4,280.60 of damage his failure to appear
           28



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             1 caused. Pacific would have owed Law Firm the $4,280.60 withint 5 days after Law
             2 Firm emailed bill to Pacific. Neeley should be no different. However, because this
             3 Motion to Dismiss is not set for hearing until 5/15/18, that gives Neeley over 1 and
             4 ½ months to reimburse the $4,280.60 to Law Firm.
             5 If Neeley has failed to reimburse the $4,280.60 to Law Firm, before the 5/15/18
             6 hearing date of Pacific’s herein Motion to Dismiss the adversary proceeding, the
             7 Court should grant the Motion to Dismiss.
             8       13. As regards Neeley’s Motion to Clarify, the Court should deny it, for
            9 being filed without a hearing date, because having no hearing date is contrary to the
           10 ED CA Bankruptcy Court’s rules for Motions.
           11         14.    In addition, on the merits, it is already unfair enough to Pacific and Law
           12 Firm, that March had to get up at 3am on 3/22/18, leave for LAX airport at 4am, take
           13 a 5:30am flight to Sacramento, to appear in person at the 3/22/18 at 9:30am pretrial
           14 conference in Sacramento--only to have that pretrial conference aborted by the
           15 Court, because Neeley did not appear in person--without delaying Neeley’s
           16 reimbursing Law Firm for March’s wasted time and costs on 3/22/18. Neither
           17 Pacific, nor Law Firm, is a lending organization. Neither Pacific, nor Law Firm,
           18 should have to carry Neeley’s duty to reimburse Law Firm, for months? Longer?
           19 Who knows?
           20         15. Neeley’s Motion to Clarify does not cite any authority that would justify
           21 delaying Neeley’s duty to reimburse Law Firm for March’s wasted trip, that Neeley’s
           22 failure to appear caused. (March Decl).
           23         16. Neeley’s duty to reimburse Law Firm the 4,280.60 should be on the same
           24 time table as Pacific would owe Law Firm payment of that bill, ie 5 days after bill is
           25 emailed, NOT at the end of the adversary proceeding (whenever that might be).
           26         17. The Court is apparently under the misapprehension that Pacific is a big,
           27 profitable car dealership. It is not. It is a tiny car dealership in Modesto, selling a
           28



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             1 few used cars. Robinson, testified in deposition that Robinson makes $121,000 per
             2 year. Pacific’s manager, Mr. Kumar, testified in deposition that he makes $20,000
             3 per year. The party with the money here is Robinson, not Pacific. I took Robinson’s
             4 deposition, on 1/15/18, and I defended the depositions of Kumar and a second
             5 Pacific worker, Uribe, on that same date.
             6        18. This adversary proceeding is making Pacific unprofitable, and Pacific
             7 itself may file bankruptcy. Any large judgment against Pacific would not just be
             8 contrary to the affirmative defenses; it would never be collectible.
             9        19. Despite her high income, Robinson lied to get Pacific to sell her the car
           10 on monthly payments, and then never made a payment, defaulting on paying Pacific
           11 the $160 a month car payments. 3 weeks after she told Pacific her financial condition
           12 was good, Robinson was already working with a bankruptcy attorney to file
           13 bankruptcy, as Robinson admitted in deposition. Then Robinson dumped the car in a
           14 strip mall parking lot, never having paid a single monthly payment on it, as Robinson
           15 admitted in deposition. That misconduct is equitable estoppel, and unclean hands,
           16 which is a complete defense.
           17      20. If the car had been parked at Robinson’s residence, as Robinson’s
           18 contract with Pacific required Robinson to do, there would have been no
           19 confusion over whether the car was abandoned in the strip mall parking lot.
           20 Robinson--who testified in deposition that she was parking the car in the strip mall
           21 parking lot, at her attorney’s suggestion, to make it harder for Pacific to find and
           22 repossess the car--has unclean hands, which is a complete defense.
           23       21. The automatic stay is supposed to be used as a shield, to protect debtors,
           24 NOT as a sword, to be a profit center for Neeley, a contingent fee attorney who goes
           25 from state to state, bringing alleged stay violation adversary proceedings, and tries to
           26 prolong them, to run up his attorneys fees, when any reasonable attorney would
           27 settle. The Court should not find such attorneys fees to be reasonable or necessary.
           28



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             1        22. The Court should dismiss this adversary proceeding, if Neeley has not
             2 reimbursed Law Firm the $4,280.60, by the time this Motion to dismiss is heard.
             3 The Court should deny Neeley’s Motion for Clarification.
             4        I declare under penalty of perjury, that the foregoing is true and correct, and
             5 that this Declaration is executed at Los Angeles, California on March 27, 2018.
             6                                /s/ Kathleen P. March
             7                             KATHLEEN P. MARCH
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                 NOTICE OF MOTION AND MOTION OF PACIFIC MOTORS TO DISMISS ADV PROC. UNLESS
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                                             PROOF OF SERVICE OF DOCUMENT
    I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                              10524 W. Pico Blvd., Ste. 212, Los Angeles, CA 90064

    A true and correct copy of the foregoing document entitled: (1). NOTICE OF MOTION, AND MOTION OF PACIFIC
    MOTORS, AND OF PACIFIC’S COUNSEL OF RECORD, THE BANKRUPTCY LAW FIRM, PC (“LAW FIRM”), TO
    DISMISS HEREIN ADVERSARY PROCEEDING, UNLESS ROBINSON’S COUNSEL, NEELEY, WITHIN 10
    DAYS, REIMBURSES LAW FIRM, FOR THE 10 HOURS OF ATTORNEY TIME (4AM TO 2PM) SPENT
    TRAVELING FROM LA TO SACRAMENTO, AND BACK, PLUS $202 AIR FARE, PLUS $78.60 TAXIS, SPENT
    TO ATTEND 3/22/18 PRETRIAL CONFERENCE, IN PERSON, AS REQUIRED, WHICH PLAINTIFF’S COUNSEL
    NEELEY FAILED TO ATTEND IN PERSON; (2) THIS PLEADING IS ALSO PACIFIC’S, AND LAW FIRM’S
    RESPONSE, TO NEELEY’S “MOTION FOR CLARIFICATION”, OF WHEN NEELEY HAS TO COMPLY WITH
    THE COURT’S DIRECTION THAT NEELEY REIMBURSE LAW FIRM’S WASTED TIME AND COSTS CAUSED
    BY NEELEY’S FAILURE TO APPEAR IN PERSON AT 3/22/18 PRETRIAL; MARCH DECLARATION
    W/EXHIBITS will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
    2(d); and (b) in the manner stated below:

    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
    Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 03/27/18
    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
    persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    Stuart M. Price, Price Law Group, APC Co-Counsel for Plaintiff: stuart@pricelawgroup.com
    L. Tegan Hurst, Price Law Group, Co-Counsel for Plaintiff: tegan@pricelawgroup.com
    Kenneth L. Neeley, Neeley Law Firm, PLC, Co-Counsel for Plaintiff: ecf@neeleylaw.com
                                                                                                Service information continued on attached page

    2. SERVED BY UNITED STATES MAIL:
    On 03/27/2018 I served the following persons and/or entities at the last known addresses in this bankruptcy case or
    adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
    postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
    be completed no later than 24 hours after the document is filed.

                                                                                                Service information continued on attached page

    3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
    for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 03/27/18, I served the following
    persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
    method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
    delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                                                                Service information continued on attached page

    I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

     03/27/18                 Kathleen P. March                                                     /s/ Kathleen P. March
     Date                           Printed Name                                                    Signature




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


    June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
